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EXHIBIT A

(The Sitrick Declaration)
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
TRIBUNE COMPANY, et al.,' Case No. 08-13141 (KJC)
Debtors. Jointly Administered

DECLARATION OF MICHAEL S. SITRICK IN SUPPORT OF APPLICATION OF
DEBTOR TRIBUNE COMPANY FOR AN ORDER AUTHORIZING DEBTORS TO
RETAIN AND EMPLOY SITRICK AND COMPANY AS CORPORATE
COMMUNICATIONS CONSULTANTS PURSUANT TO 11 U.S.C. §§ 327(a),
NUNC PRO TUNC TO AUGUST 26, 2010

I, Michael S. Sitrick, do hereby declare as follows:
1. I am the chairman and chief executive officer of Sitrick and Company, a
division of Sitrick Brincko Group, LLC (“Sitrick’’), a strategic communications firm with offices

located at 1840 Century Park East, Suite 800, Los Angeles, California 90067, as well as in New

The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are: Tribune Company
(0355); 435 Production Company (8865); 5800 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc. (8258); California
Community News Corporation (5306); Candle Holdings Corporation (5626), Channel 20, Inc. (7399); Channel 39, Inc. (5256); Channel 40, Inc.
(3844); Chicago Avenue Construction Company (8634), Chicago River Production Company (5434); Chicago Tribune Company (3437);
Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc. (3167); ChicagoLand Microwave Licensee, Inc. (1579):
Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc. (9221); Direct Mail
Associates, Inc. (6121); Distribution Systems of America, Inc. (3811); Eagle New Media Investments, LLC (6661); Eagle Publishing
Investments, LLC (6327); forsalebyowner.com corp. (0219); ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation
(5628); Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc. (5505); GreenCo, Inc. (7416); Heart & Crown Advertising, Inc.
(9808), Homeowners Realty, Inc. (1507); Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Inc.
(2663); Intemet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479); JuliusAir Company H, LLC; KIAH Inc. (4014); KPLR, Inc.
(7943), KS WB Inc. (7035); KTLA Inc. (3404), KWGN Ine. (5347); Los Angeles Times Communications LLC (1324); Los Angeles Times
International, Ltd. (6079), Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Company (6522); NBBF, LLC (0893);
Neocomm, Inc. (7208); New Mass. Media, Inc. (9553), Newscom Services, Inc. (4817); Newspaper Readers Agency, Inc. (7335), North
Michigan Production Company (5466); North Orange Avenue Properties, Inc. (4056); Oak Brook Productions, Inc. (2598); Orlando Sentinel
Communications Company (3775), Patuxent Publishing Company (4223); Publishers Forest Products Co. of Washington (4750); Sentinel
Communications News Ventures, Inc. (2027), Shepard's Inc. (7931); Signs of Distinction, Inc. (3603); Southern Connecticut Newspapers, Inc.
(1455), Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276); Sun-Sentinel Company (2684); The Baltimore Sun Company
(6880); The Daily Press, Inc. (9368), The Hartford Courant Company (3490); The Morning Call, Inc. (7560), The Other Company LLC (5337);
Times Mirror Land and Timber Company (7088), Times Mirror Payroll Processing Company, Inc. (4227); Times Mirror Services Company, Inc.
(1326); TMLH 2, Inc. (0720), TMLS I, Inc. (0719); TMS Entertainment Guides, Inc. (6325); Tower Distribution Company (9066); Towering T
Music Publishing Company (2470); Tribune Broadcast Holdings, Inc. (4438); Tribune Broadcasting Company (2569); Tribune Broadcasting
Holdco, LLC (2534); Tribune Broadcasting News Network, Inc., n/k/a Tribune Washington Bureau Inc. (1088); Tribune California Properties,
Inc. (1629); Tribune CNLBC, LLC, f/k/a Chicago National League Ball Club, LLC (0347); Tribune Direct Marketing, Inc, (1479), Tribune
Entertainment Company (6232); Tribune Entertainment Production Company (5393); Tribune Finance, LLC (2537); Tribune Finance Service
Center, Inc. (7844); Tribune License, Inc. (1035); Tribune Los Angeles, Inc. (4522); Tribune Manhattan Newspaper Holdings, Inc. (7279),
Tribune Media Net, Inc. (7847); Tribune Media Services, Inc. (1080); Tribune Network Holdings Company (9936); Tribune New York
Newspaper Holdings, LLC (7278); Tribune NM, Inc. (9939); Tribune Publishing Company (9720); Tribune Television Company (1634); Tribune
Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc. (4055); Tribune Television Northwest, Inc. (2975); ValuMail, Inc.
(9512), Virginia Community Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587); WATL, LLC (7384); WCCT, Inc., f/k/a WTXX
Inc. (1268); WCWN LLC (5982); WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting Company (9530); WLVI Inc. (8074); and
WPIX, Inc. (0191). The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North Michigan Avenue, Chicago,
Illinois 60611.
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York, San Francisco, Silicon Valley, and Miami. I make this declaration (the “Declaration”) on
behalf of Sitrick. I am generally familiar with Sitrick’s day-to-day operations, business affairs,
practices, clients, and book and records.

2. I submit this Declaration in support of the Application of Debtor Tribune
Company for an Order Authorizing the Debtors to Retain and Employ Sitrick and Company as
Corporate Communications Consultants Pursuant to 11 U.S.C. § 327(a) (the “Application”).” I
have personal knowledge of the facts set forth herein. If called to testify, | could and would
testify competently to the facts set forth herein.

3. Sitrick was founded in 1989 and is one of the nation’s top strategic
communications companies focused on providing advice to large corporate clients on crisis
communications. Since its founding, Sitrick has provided services to corporations in more than
300 chapter 11 cases and more than 100 out-of-court restructurings.

4. To the best of my knowledge, and on information and belief, Sitrick has
no connection to the Debtors, their creditors, the Office of the United States Trustee for Region
3, or any other party with an actual or potential interest in these chapter 11 cases or their
respective attorneys or accountants, except for its proposed retention as corporate
communications consultants to the Debtors and as otherwise described herein.

5. Sitrick is not employed by, and has not been employed by, any entity other
than the Debtors in matters related to these chapter 11 cases.

6. Sitrick has undertaken a search to determine, and to disclose, whether it is
performing or has performed services for any significant creditors, equity security holders,
insiders or other parties in interest in such unrelated matters. To check and clear potential

conflicts of interest in these cases, Sitrick performed a conflicts search on the Debtors and other

* Unless otherwise defined herein, capitalized terms shall have the meanings ascribed to them in the Application.
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significant parties-in-interest (collectively, the “Interested Parties”). The identities of the

Interested Parties were provided to Sitrick by the Debtors and are set forth on Schedule 1
attached hereto. They include: (1) the Debtors; (2) the Debtors’ current and former directors and
officers; (3) the Debtors’ 30 largest unsecured creditors on a consolidated basis, as identified in
the Debtors’ chapter 11 petitions; (4) the Debtors’ prepetition lenders and other material trade
creditors of the Debtors; (5) parties to significant litigation with the Debtors; (6) the attorneys
and other professionals that the Debtors have employed in these chapter 11 cases; (7) the
Debtors’ material secured creditors; (8) the Debtors’ secured lenders and their professionals; (9)
the Debtors’ material known unsecured bank and noteholder lenders; and (10) other significant
parties in interest, including parties to joint ventures with the Debtors.

7. Sitrick’s research of its relationships with the Interested Parties indicated
that Sitrick was employed during the past five years, or is now employed, by certain entities
listed on Schedule 2, for whom Sitrick has provided or is providing public relations services
unrelated to the Debtors’ cases.

8. From time to time Sitrick has provided services, and likely will continue
to provide services, to certain creditors of the Debtors and various other parties adverse to the
Debtors in matters unrelated to these chapter 11 cases.

9. Despite the efforts described above to identify and disclose Sitrick’s
connections with parties-in-interest in these cases, because the Debtors and their non-debtor
affiliates consist of over 115 entities with thousands of creditors and other relationships, Sitrick
is unable to state with certainty that every client relationship or other connection has been
disclosed. In this regard, if Sitrick discovers additional information that requires disclosure,

Sitrick will file a supplemental disclosure with the Court as promptly as possible.
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10. Sitrick (i) is not a creditor, an equity security holder, or an insider of any
of the Debtors, and (ii) is not and was not, within two years before the Petition Date, a director,
officer, or employee of any of the Debtors. In addition, to the best of my knowledge, and on
information and belief, Sitrick does not have an interest materially adverse to the interest of any
of the Debtors’ estates or of any class of creditors or equity security holders, by reason of any
direct or indirect relationship to, connection with, or interest in, any of the Debtors or for any
other reason. Accordingly, I believe Sitrick is a “disinterested person,” as defined in section
101(14) of the Bankruptcy Code and as required by section 327(a) of the Bankruptcy Code.

11. A copy of the Engagement Letter relating to the services to be performed
by Sitrick relating to the Debtors’ reorganization is attached to the Application as Exhibit B
thereto. Sitrick understands that its services to Tribune will be on the terms and conditions of the
Engagement Letter, subject to the Bankruptcy Court’s order approving Sitrick’s retention.

12. Upon the entry of this Court’s order approving the Engagement Letter,
Tribune will pay Sitrick a non-refundable retainer of sixty thousand dollars ($60,000.00).
Pursuant to the terms and conditions of the Engagement Letter, Sitrick’s fees will be applied
against the retainer and will be determined in accordance with Sitrick’s standard hourly billing
rates, which range from $185 to $895 per hour, depending on the professional performing the
services. Once the retainer has been fully applied against time charges, additional time charges
will be billed as incurred. Tribune shall also reimburse Sitrick for all reasonable and necessary
out-of-pocket expenses Sitrick incurs in the course of providing services to the Debtors. To that
end, the Engagement Letter provides that Tribune will pay to Sitrick, upon approval of the
Engagement Letter by the Bankruptcy Court, an expense advance of $10,000, from which such

expenses shall be deducted and thereafter billed to Tribune.
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13. As detailed in the Engagement Letter, Sitrick understands that it will be
required to submit applications for allowance of its fees and reimbursement of its expenses to the
Bankruptcy Court, and will be compensated for its services and reimbursed for its expenses in
accordance with the terms of the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure,
the Local Rules of Practice and Procedure for the United States Bankruptcy Court for the District

of Delaware, and applicable orders of the Bankruptcy Court.

Dated: september*/ 2010

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SCHEDULE 1

(Interested Parties List)
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RULE 2014 LIST - TRIBUNE COMPANY, et al.

DEBTORS

Tribune Company

435 Production Company

5800 Sunset Productions Inc.

Baltimore Newspaper Network, Inc.
California Community News Corporation
Candle Holdings Corporation

Channel 20, Inc.

Channel 39, Inc.

Channel 40, Inc.

Chicago Avenue Construction Company
Chicago River Production Company
Chicago Tribune Company

Chicago Tribune Newspapers, Inc.
Chicago Tribune Press Service, Inc.
ChicagoLand Microwave Licensee, Inc.
Chicagoland Publishing Company
Chicagoland Television News, Inc.
Courant Specialty Products, Inc.

Direct Mail Associates, Inc.
Distribution Systems of America, Inc.
Eagle New Media Investments, LLC
Eagle Publishing Investments, LLC
Forsalebyowner.com Corp.
Forsalebyowner.com Referral Services, LLC
Fortify Holdings Corporation

Forum Publishing Group, Inc.

Gold Coast Publications, Inc.

GreenCo, Inc.

Heart & Crown Advertising, Inc.
Homeowners Realty, Inc.

Homestead Publishing Co.

Hoy, LLC

Hoy Publications, LLC

InsertCo, Inc.

Internet Foreclosure Service, Inc.
JuliusAir Company, LLC

JuliusAir Company II, LLC

KIAH, Inc.

KPLR, Inc.

KSWB Inc.

KTLA Inc.

KWGN Inc.

Los Angeles Times Communications LLC
Los Angeles Times International, Ltd.
Los Angeles Times Newspapers, Inc.
Magic T Music Publishing Company

NBBF, LLC

Neocomm, Inc.

New Mass. Media, Inc.

Newscom Services, Inc.

Newspaper Readers Agency, Inc.

North Michigan Production Company

North Orange Avenue Properties, Inc.

Oak Brook Productions, Inc.

Orlando Sentine! Communications Company

Patuxent Publishing Company

Publishers Forest Products Co. of Washington

Sentinel Communications News Ventures, Inc.

Shepard’s, Inc.

Signs of Distinction, Inc.

Southern Connecticut Newspapers, Inc.

Star Community Publishing Group, LLC

Stemweb, Inc.

Sun-Sentinel Company

The Baltimore Sun Company

The Daily Press, Inc.

The Hartford Courant Company

The Morning Call, Inc.

The Other Company LLC

Times Mirror Land and Timber Company

Times Mirror Payroll Processing Company,
Inc.

Times Mirror Services Company, Inc.

TMLH 2, Inc.

TMLS I, Inc.

TMS Entertainment Guides, Inc.

Tower Distribution Company

Towering T Music Publishing Company

Tribune Broadcast Holdings, Inc.

Tribune Broadcasting Company

Tribune Broadcasting Holdco, LLC

Tribune Broadcasting News Network, Inc.

Tribune California Properties, Inc.

Tribune CNLBC, LLC (f/k/a Chicago National
League Ball Club, LLC)

Tribune Direct Marketing, Inc.

Tribune Entertainment Company

Tribune Entertainment Production Company

Tribune Finance, LLC

Tribune Finance Service Center, Inc.

Tribune License, Inc.

Tribune Los Angeles, Inc.

Tribune Manhattan Newspaper Holdings, Inc.

Tribune Media Net, Inc.
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Tribune Media Services, Inc. Denise Carlisle
Tribune Network Holdings Company Patricia M. Carroll
Tribune New York Newspaper Holdings, LLC Stephen D. Carver

Tribune NM, Inc.

Tribune Publishing Company
Tribune Television Company
Tribune Television Holdings, Inc.

Tribune Television New Orleans, Inc.

Tribune Television Northwest, Inc.
ValuMail, Inc.

Virginia Community Shoppers, LLC

Virginia Gazette Companies, LLC
WATL, LLC

WCCT, Inc., f/k/a WT XX Inc.
WCWN LLC

WDCW Broadcasting, Inc.

WGN Continental Broadcasting Company

WLYVI Inc.
WPIKX, Inc.

DEBTORS’ CURRENT AND FORMER

DIRECTORS AND OFFICERS

Lee Abrams

Lynne Adamson
Harry A. Amsden
Julie D. Anderson
Thomas J. Anischik
Michael D. Asher
Chris Avetisian
Cynthia Baker
Roger A. Bare
Robertson Barrett
Alexa A. Bazanos
Robert E. Bellack
David A. Bennett
Kelly F. Benson
Steve Bentz

Jeffrey S. Berg
Betty Ellen Berlamino
Judith Berman
Theodore J. Biedron
Chandler Bigelow I
Michael G. Bourgon
Kevin C. Boyd
Thomas F. Brown
Becky Brubaker
David A. Bucknor
Stephen M. Budihas
Thomas G. Caputo

Vincent Casanova
Patti Cazeaux
Jeffrey Chandler
Steve Charlier
Marc Chase
Robert Christie
Sean D. Compton
Kevin J. Connor
Ray Daley

Tom Davidson
Catherine A. Davis
Sam DeFroscia
Jennifer DeKarz
Larry Delia
Robert Delo

Phil Doherty

John D'Orlando
Jeff Dorsey

Tim Dukes

David P. Eldersveld
Steve Farber
Richard S. Feeney
James Feher

Jay Fehnel

Peter D. Filice
Thomas S. Finke
Karen H. Flax
Oneri Fleita
Michael C. Foux
Timothy Franklin
Chris L. Fricke
Andy Friedman
Travis B. Fuller
Steve Gable

Rich Gamble
Michael Gart
Erie C. Gates
Vince Giannini
Russell Gilbert
Dawn M. Girocco
Karlene W. Goller
Bradley Good
Roger Goodan
Richard J. Graziano
Howard Greenberg
Brian L. Greenspun
Robert Gremillion
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Charlotte H. Hall
Eddy W. Hartenstein
Linda Hastings
Dana C. Hayes, Jr.
Greg Healy

Jane E. Healy

John R. Hendricks
James J. Hendry
Ardith Hilliard
Chris Hochschild
Betsy D. Holden
Carolyn S. Hudspeth
Hank J. Hundemer
Bonnie B. Hunter
Tony Hunter
Richard E. Inouye
Alice T. Iskra
Kamran Izadapanah
Janice Jacobs
Juliana Jaoudi

Kim Johnson

Lee Jones

Judy Juds

Jeff Kapugi

Daniel G. Kazan
Anne S. Kelly
Timothy R. Kennedy
Crane H. Kenney
Gerould W. Kern
Jerry L. Kersting
Avido Khahaifa
Jack D. Khunder
Patricia A. Kolb
Timothy Koller
Glenn G. Kranzley
Kim A. McCleary LaFrance
Eric Laimins
Thomas E. Langmyer
Jeffrey S. Levine
Donald J. Liebentritt
Brian F. Litman
Michael R. Lufrano
Walter Mahoney
Christopher Manis
John Manzi

Jerome P. Martin
Earl R. Maucker
Gina Mazzaferri
David R. Mayersky
Richard McGerald

Mark E. McGuire
Patrick Scott McKibben
Don W. Meek

Nancy A. Meyer
Eric Meyrowitz
Randy Michaels
Susan M. Mitchell
Paul Mitnick

Dan Mitrovich

John S. Moczulski
Richard D. Molchany
Roaldo W. Moran
Christopher C. Morrill
Robyn L. Motley
Robin Mulvaney
Gwen P. Murkami
Russ Newton

Tom Nork

Dennis G. O'Brien
Mike O'Connor
William C. O'Donovan
John T. O'Loughlin
Daniel O'Sullivan
Norbert Ortiz
William A. Osborn
William C. Pate

Rob T. Patton
Pamela S. Pearson
John F. Poelking
Scott G. Pompe
Andrea M. Pudliner
Myrna Ramirez
Robert S. Ramsey
Charles Ray

Jodi L. Reischl

Justo Rey

Jack Rodden

Robert R. Rounce
Sheau-Ming Ross
Timothy Ryan
Naomi B. Sachs
Linda Schaible
Raymond J. Schonbak
Stephen G. Seidl
Henry M. Segal
Lynne A. Segall
Charles J. Sennet
Dinesh Shah

Patrick M. Shanahan
Mark Shapiro
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Shaun M. Sheehan
Sharon A. Silverman
Digby A. Solomon
Laurence J. Sotsky
Gerald A. Spector
Russ Stanton
William Stinehart, Jr.
Scott Sullivan

Laura L. Tarvainen
Lou Tazioh

Clifford L. Teutsch
Doug Thomas
Timothy J. Thomas
Kathy K. Thomson
Steve Tippie

John P. Trainor
William C. Trimarco
Cam Trinh

Phil Waterman
Michael E. Weiner
Gary Weitman

Jack Whisler
Maggie Wilderotter
Marty Wilke

David D. Williams
Roger Williams
Ann B. Wilson

Ed Wilson

Timothy F. Windsor
Ed Wolf

Frank Wood

Feli M. Wong

John D. Worthington, IV

Julie K. Xanders
Joseph A. Young
Owen Youngman
John S. Zabetakis
John E. Zelenka
Samuel Zell

THIRTY LARGEST UNSECURED
CREDITORS (CONSOLIDATED)

Abitibi Consolidated
Barclays Capital
Bowater Inc.

Deutsche Bank National Trust Company

Horst Bergman

J.P. Morgan Chase Bank, N.A.

Mark Willes

Merrill Lynch Capital Corporation
NBC Universal Domestic Television
Nielsen Media Research
Paramount Pictures Corporation
Raymond Jansen Jr.

Robert Erburu

Sony Pictures Television

SP Newsprint Company

Tower DC, LLC

Tower EH, LLC

Tower JK, LLC

Tower MS, LLC

Tower PT, LLC

Twentieth Television

Warner Brothers Television

CNLBC TWENTY LARGEST
UNSECURED CREDITORS

BD&A

Boise Hawks Baseball Club LLC
Bunzl

Chicago Cubs Charities

Chicago Transit Authority
Complejo Latinoamericana Baseball
Cubs Care

Daytona Cubs

Ernie Banks International Inc.
Hampton Inn and Suites

JP Morgan Chase Bank, NA

Jose Serra

Luis Vizcaino

Major League Baseball

Merrill Lynch Capital Corporation
Northwestern Memorial Hospital
Profinancial Services Inc.
Structural Shop Ltd.

The Langham Huntington Pasadena
Westin Diplomat Resort & Spa

DEBTORS’ PREPETITION LENDERS

1798 Relative Value Master Fund Ltd.
40/86 Advisors Inc.

ABN AMRO Holding NV

ABP Investments US Inc.

Aegon USA Investment Management

AIG Global Investment Corp.

Airlie Opportunity Capital Management LP
Aladdin Capital Management LLC
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Alcentra Inc.

Allstate Investment Management Company
Amida Capital Management IT, LLC
Anchorage Capital Group LLC

Angelo Gordon & Co LP

Ares Management LP

Avenue Advisors LLC

Avenue Investments, LP

Avenue Special Situations Fund IV, LP

Avenue - CDP Global Opportunities Fund, L.P.

(US)
Avenue International Master, LP (Master)
Avenue Special Situations Fund
Babson Capital Management LLC
Banc Investment Group LLC
Bank of America N.A.
Barclays Bank plc
Basso Capital Management LP
Bear Stearns & Co., Inc
Bear Stearns Asset Management
Blackstone Debt Advisors LP
BLT 39 LLC
Blue Mountain Capital Management LLC
Blue Shield of California
Briscoe Capital Management
Callidus Capital Management LLC
Canadian Imperial Bank of Commerce
Canaras Capital Management LLC
Canyon Capital Advisors LLC
Capitalsource Finance LLC
Carlyle Investment Management LLC
Carval Investors LLC
CFIP Master Fund, Ltd.
Chicago Fundamental Investment Partners LLC
Chimney Rock Value Fund, L.P.
Churchull Pacific Asset Management LLC
CIT Group Incorporated
Citicorp North America Inc.
Citigroup Financial Products Inc.
Claren Road Asset Management LLC
Clinton Group Inc.
Columbus Nova Credit Investments
Management LLC
Contrarian Capital Management LLC
Credit Suisse Asset Management
Credit Suisse Group AG
CVI GVF (Lux) Master S.a.r.1.
Cypresstree Investment Management Co Inc.
Davidson Kempner Capital Management LLC
DC Funding Partners LLC

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Deerfield Capital Management LLC

Delaware Management Business Trust

Deutsche Bank AG

Deutsche Investment Management Americas
Inc.

DiMaio Ahmad Capital LLC

Drake Capital Management LLC

Dry Brook Credit Opportunities Master Fund
Ltd.

Duquesne Capital Management LLC

Eaton Vance Mgmt

EBF & Associates LP

Elliott Management Corporation

Epic Asset Management LLC

Farallon Capital Management LLC

Feingold O’ Keeffe Capital LLC

Fidelity Investment/Fidelity Mutual Fund
Comp

Fidelity Investments

FIG LLC

Firstlight Financial Corp.

Four Concers Capital Management LLC

Franklin Advisers Inc.

Franklin Floating Rate Master Series

Franklin Floating Rate Daily Access Fund

Franklin Mutual Advisers LLC

Franklin Strategic Income Fund (Canada)

Franklin Strategic Series — Franklin Strategic
Income Fund

Franklin Templeton Inv Mgmt Ltd

Franklin Templeton Series IT Funds

Franklin Templeton Variable Insurance
Products Trust

Franklin Total Return Fund

Fraser Sullivan Investment Management LLC

FT Opportunistic Distressed Funds Ltd.

GE Asset Management Inc.

General Electric Capital Corporation

GM Pension Plan

GoldenTree Asset Management LP

GoldenTree Credit Opportunities Financing I,
Limited

GoldenTree Credit Opportunities Second
Financing, Limited

GoldenTree 2004 Trust

GoldenTree Leverage Loan Master Fund, Ltd.

GoldenTree MultiStrategy Subsidiary, LLC

GoldenTree MultiStrategy Financing, Limited

Goldman Sachs Asset Management LP

Goldman Sachs Loan Partners
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Goldman Sachs Group Inc.

GN3 SIP Limited

Greywolf Capital Management LP

Greywolf Capital Overseas Master Fund

Greywolf Capital Partners IT LP

Greywolf CLO I Ltd.

Gruss Asset Management Limited Partnership

GSO Capital Partners LP

Guggenheim Management LLC

Gulf Stream Asset Management LLC

Halcyon Structured Asset Management LP

Harbert Management Corporation

Harbourmaster CLO 10 B V

Harbourmaster CLO 7 BV

Harbourmaster CLO 9 B V

Harbourmaster Pro Rata CLO 2 B V

Harch Capital Management

Hartford Investment Management Company

Highland Capital Management LP

Hillmark Capital Management LP

IKB Capital Corporation

ING Investment Management LLC

Invesco Inst NA Inc.

JD Capital Management LLC

Jefferson Pilot Financial Insurance Company

John Hancock A/C 62 JH High Yield Fund
(99140)

John Hancock Financial Services Inc.

JP Morgan BK Branch - 0802

JP Morgan Chase Bank, N.A.

Kingsland Capital Management LLC

KKR Financial Corporation

Knighthead Capital Management LLC

Latigo Master Fund Ltd.

Latigo Partners LP

Lehman Brothers Commercial Bank

Lehman Brothers Holdings Inc.

Levine Leichtman Capital Partners Inc.

Littlejohn & Company

LMA SPC for and on behalf of MAP84
Segregated Portfolio

Loews Corporation

Loomis Sayles & Company LP

LP MAI, Ltd.

Lufkin Advisors LLC

Luxor Capital Group, LP

Lyon Capital Management

Marathon Asset Management LLC

Massachusetts Financial Services Company

McDonnell Investment Management LLC

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Meritage Fund Limited

Merrill Lynch & Co. Inc.

Metropolitan Life Insurance Company

Metropolitan West Asset Management LLC

MJX Asset Management LLC

Moore Capital Management LLC

Morgan Stanley

Morgan Stanley Investment Co Niston BV

Morgan Stanley Investment Management Garda
BV

Morgan Stanley Investment Management Inc.
as AgtINCAS AGT

Morgan Stanley Investment Management
Mezzano B V

Mountain Capital Advisors

MSD Capital LP

National City Corporation

Neuberger Berman LLC

New York Life Insurance Company

New York Life Investment Management

Newstart Factors Inc.

Nicholas-Applegate Capital Management LLC

Nomura Corporate Research & Asset
Management Inc.

Nomura Corporate Research & Asset Mgmt

Normandy Hill Capital LP

Oak Hill Advisors LP

Oaktree Capital Management LP

Octagon Credit Investors LLC

Onex Credit Partners LLC

Oppenheimer Funds Inc.

Orchid Investments, LLC

Ore Hill Part LLC

OZ Management LP

Pacific Investment Management Company

Paloma Partners Management Co Inc.

Pangaea Asset Management LLC

Par IV Capital Management LLC

Patriarch Partners LLC

Pentwater Capital Management L P

Perry Corporation

Phoenix Investment Counsel

Pioneer Investment Management Inc.

Plainfield Asset Management LLC

PPM America Incorporated

Primus Asset Management Inc.

Princeton Advisory Group Inc.

Prudential Investment Management Inc

Putnam Advisory Co LLC

Putnam Investment Management LLC
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Quadrangle Group LLC

R3 Capital Management LLC

Rabobank Int’!

Raven Asset Management LLC

Renaissance Reinsurance Limited

Riversource Investments LLC

Royal Bank of Scotland plc

Sandell Asset Management Corporation

Sandelman Partners LP

Sankaty Advisors Bain Capital

Satellite Asset Management LP

Scoggin Capital management LP II

Scoggin International Fund LTD.

Scoggin Worldwide Distressed Fund, LTD

Scotia Capital Inc.

Security Management Company

SEG LP MA2, L.P.

SEG Latigo Master Fund Ltd.

SEIX Investment Advisors Incorporation

Seneca Capital Management

Serengeti Asset Management Limited
Partnership

Silver Point Capital LP - FSG

Silvermine Capital Management LLC

Smithwood Partners LLC

Societe Generale

Special Situations Investing Group, Inc.

Stichting Pensioenfonds ABP — Portfolio 1211

Stone Harbor Investment Partners LP

Stone Tower Debt Advisors LLC

Strategic Value Partners LLC

Sumitomo Mitsui Banking Corporation

Sunrise Partners Limited Partnership

Swiss Reinsurance Company Ltd.

Symphony Asset Management LLC

T2 Advisers LLC

Taconic Capital Advisors LLC

Taconic Capital Partners 1.5 LP

Taconic Market Dislocation Fund IT LP

Taconic Market Dislocation Master Fund II LP

Taconic Opportunity Fund LP

Tall Tree Investment Management LLC

Talon Asset Management Inc.

TCW Asset Management Co.

Templeton Global Investmetn Trust —
Templeton Income Fund

The Norinchukin Bank

Trimaran Advr LLC

Trusco-Ridgeworth Funds High Income Fund

Trusco-Ridgeworth Funds Strategic Income

Fund
UBS AG
UBS O’Connor LLC
Van Kampen Asset Management
Varde Investment Partners, L.P.
Varde Partners Inc.
Venor Capital Management LP
VGE III Portfolio Ltd.
Viking Global Equities LP
Viking Global Equities IT LP
Viking Global Performance LLC
W R Huff Asset Management
Wachovia Bank National Association
Waterstone Market Neutral Master Fund, Ltd.
Waterstone Market Neutral Mac51 Fund, Ltd.
Wells Capital Management Incorporated
Wells Fargo Foothill Inc.
West Gate Horizons Advisors LLC
Western Asset Management
WestLB AG
Whitehorse Capital Partners LP
Wilmington Trust Company — Delaware
York Capital Management
Z Capital Senior Debt Fund L P
Zohar II 2005-1 Ltd.

COUNTERPARTIES TO HEDGING
AGREEMENTS

Barclays Capital

AGENTS UNDER CREDIT
AGREEMENTS

BANC OF AMERICA SECURITIES LLC
BANK OF AMERICA, N.A.

BARCLAYS BANK PLC

CITICORP NORTH AMERICA, INC.
CITIGROUP GLOBAL MARKETS, INC.
JPMORGAN CHASE BANK, N.A.
JPMORGAN SECURITIES, INC.
MERRILL LYNCH CAPITAL
CORPORATION

MERRILL, LYNCH, PIERCE, FENNER &
SMITH, INC.
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SIGNIFICANT HOLDERS OF
DEBTORS’ PREPETITION NOTES

Aurelius Capital Management LP
Centerbridge Credit Advisors LLC
Centerbridge Partners, L.P.

INDENTURE TRUSTEES

Deutsche Bank National Trust Company
Americas
Law Debenture Trust Company of New York

FORMER INDENTURE TRUSTEES

Bank of Montreal Trust Company
Bank of New York

Citibank, N.A.

First Interstate Bank of California
Wells Fargo Bank, N.A.
Wilmington Trust Company

PROFESSIONALS RETAINED BY
PREPETITION LENDERS

Davis Polk & Wardwell

Richards, Layton & Finger, P.A.
FTI Consulting

Kramer Levin Naftalis & Frankel LLP
Blackstone Advisory Services, L.P.
Wiley Rein LLP

PROFESSIONALS RETAINED BY
POSTPETITION LENDERS

Mayer Brown LLP
Edward Angell Palmer & Dodge LLP

OFFICIAL COMMITTEE OF
UNSECURED CREDITORS

J.P. Morgan Chase Bank, N.A.

Warner Brothers Television

Pension Benefit Guaranty Corporation
Merrill Lynch Capital Corporation
Vertis, Inc.

Washington-Baltimore Newspaper Guild
Wilmington Trust Company

William Niese

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PROFESSIONALS RETAINED BY
OFFICIAL COMMITTEE OF
UNSECURED CREDITORS

Chadbourne & Parke LLP
Landis Rath & Cobb LLP
AlixPartners, LLP

Moelis & Company LLC
Zuckerman Spaeder LLP

PROFESSIONALS RETAINED BY THE
DEBTORS OUTSIDE OF THE
ORDINARY COURSE OF BUSINESS

Alvarez & Marsal North America LLC
Cole, Schotz, Meisel, Forman & Leonard, P.A.
Deloitte & Touche LLP

Dow Lohnes, PLLC

Daniel J. Edelman, Inc.

EPIQ Bankruptcy Solutions, LLC
Ernst & Young

Jenner & Block LLP

Jones Day

Lazard Freres & Co.

McDermott Will & Emery LLP
Mercer (US) Inc.

Paul Hastings Janofsky & Walker LLP
PricewaterhouseCoopers LLP

Reed Smith LLP

Seyfarth Shaw LLP

Sidley Austin LLP

INSURANCE CARRIERS

Ace American Insurance Company

Allied World Insurance Company, Ltd (AWAC)
Axis Reinsurance Company

Chubb Atlantic Indemnity Ltd.

Executive Risk Indemnity Inc. (Chubb)
Federal Insurance Company (Chubb)

FM Global

Global Aerospace

The Hartford Insurance Group

Illinois National Insurance Company (AIG)
Indian Harbor Insurance/ESC (XL)
Lexington Insurance Company

Lloyd’s

Multimedia Insurance Company

St. Paul Fire & Marine Insurance Company
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(Travelers)

Scottsdale GL

XL Insurance (Bermuda) Ltd.

Zurich American Insurance Company

DEBTORS’ MAJOR
CUSTOMERS

American Express Co
Anheuser Busch

Arby’s Restaurants Ltd.
AT&T

AT&T (A) *

AT&T (B)’

Bank of America
Cablevision

Carl’s Jr. Fast Food
Carmax

Carnival Corp.

Circuit City

Citigroup

Comcast

Comcast Cable
Corinthian Schools
Countrywide Financial
CP Chrysler Factory

CP Dodge Dealer Association
CP Jeep/Eagle Dealer Association
Dell

Disney — Buena Vista
Domino’s Pizza

Dunkin Donuts

Empire Home Services
Everest College
Foodmaker/Jack in the Box
Ford

Ford Dealer Associations
Ford Mazda Factory

GE - Vivendi Universal
GEICO

General Mills

General Motors

Glaxo Smith Kline Beecham Welcome

GM Chevy Dealer Associations
GM Chevy Factors

GM General Motors Corp
Honda Acura Factory

Honda Dealer Associations
Honda Factory

Hyundai Dealer Associations

Issue Advertising — Political
ITT Educational Services
Johnson & Johnson

Kent Advertising

Kia Factory Motors

Kraft General Foods

Liberty Travel

Lincoln Technical Institute
Lowe’s — Home Improvement

Maximum Coverage Media — Euro RSCG

McDonalds — McDonald’s
Metro Cable

News America Publ’g FSI
News Corp

News Corp — 20" Century Fox — Home -
Theatrical

Nissan Dealer Associations
Nissan Factory

Nissan Infiniti Factory

Pepsi — Pepsi Cola Various
Pfizer

Political Advertiser

Procter & Gamble —- P&G
Program Buy-Miscellaneous
Progressive Insurance

Quest Personals

Qwest Communications
Raymour & Flanigan

Reckitt Benckiser

Six Flags Great America Parks

Sony Entertainment — Pictures — Columbia

Tristar

Southwest Airlines

Sprint/Nextel

Subway

Target Stores

T-Mobile

T-Mobile/Voice Stream

Toyota Dealer Associations
Toyota Lexus Dealer Associations
Toyota Local Dealers

TW New Line Cinema — Home Video
TW Time Warner

TW Warner Brothers

TW Warner Communications
USS. Cellular

Valassis

Verizon Wireless

Verizon Wireless — Cellular
Viacom — Paramount
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Volkswagen Factory

Wachovia Bank

Washington Mutual

Washington Mutual

Westwood College

White Castle

Yum Brands — Kentucky Fried Chicken
Yum Brands — Pizza Hut

Yum Brands — Taco Bell

PARTIES TO SIGNIFICANT
LITIGATION WITH THE DEBTORS

Aaron Wider

Abner Boy Shepard Holy Ghost
Albert E. Brooke

Allen Francisco

Andrea Dworkin

Andrew Faggio

Andy Martin

Angel T. Haldeman

Anthony Conte

AP&J Building Maintenance
AR Sandri Inc.

Arco Gas Station

Artini-Zak Corporation, Inc.
Barbara Roessner

Beneficial Innovations, Inc.
Bijan Kohanzad

Bill McNair

Body Solutions of Manhattan
Bonnie Cronin

Bruce Mickelson

CBS Broadcasting Inc.

CBS Radio Inc.

Charlemagne Louis-Charles
Charles Evans

City of New Haven

College Point Restaurant, Corp.
Corie Brown

Crab House of Douglaston, Inc.
Curtis Wallace

Dan Neil

Danial Mazurkewicz

Daniel Kohanof

David Kissi

Derrick Bell

Donald Sylvester

Douglas M. Guetzloe

Dylan Frederick Balbon Glorioso

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East Coast Preferred Properties, Inc.
East Coast Realtors, Inc.

Eastern Financial Florida Credit Union
Edd Arnett

Edgar Wilburn Jr.

Edward Arnett Johnson

Edward Roeder

Electronic Imaging Systems of America, Inc.
Elite Staffing Inc.

ET Week Publication, Inc.
Felicidad Balbon

First United Bank; Illinois Banking Corporate
Gallagher's II

Gary Grant

Gary Libow

Gary W. Garcia

George Liberman Enterprises, Inc.
George Spanos

Gerald Breimon

Gerald Posner

Geraldine A. Feichtel

Gerard E. Schultz

Grace M. Moreo

Greenberg & Stein, LLP

Gutman Pain/Accident Center Inc.
Henry Weinstein

Herschel Collins

Hillard J. Quint

HTFC Corporation

Hustedt Chevrolet, Inc.

Hy-Ko Products Company

Isaiah Shannon

Jack Nelson

Jacqueline Espinal

James Allen

James Gleick

Jay Feldman

Jay R. Serkin

Jayne Clement

Jennifer Faggio

Jesse Jackson

Jessy Thomas

Jill Hueckel

Jo Anne Lawson

John Gallant

John William Smithers, Sr.

Jon Robert Van Senus

Joseph DeSola

Joseph Mauro

Joyce Johnson

Julie Ficht
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Keiffer J. Mitchell, Sr
Kevin Ealy

Kevin Grams

Letty Cottin Pogrebin
Lisa M. Leger

Loretta Grant

Louis Muscari

Luqman H Mohammed
Lynn Brenner

Mamie Hector

Marie Winn

Marion Milton

Mary Ann Sherman
Medically Speaking LLC
Michael Castleman, Inc.
Michael Cordts
Michael E. Gutman
Michael W. Owens
Mike Gutman MD
Miriam Raftery

Myron Levin

Neala Olson

Norton Giffis

P/K Associates, Inc.
Pamela Peyck

Parallel Productions, Inc.
Park Avenue Aesthetic Surgery, PC
Parren J. Mitchell

Paul Newer

Paula McDonald

Pearl Evans

Penelope Henderson

R. L. Wilson

Rachel De Maso

Realty Executives

Reed Simpson

Richard Shannon
Robert E. Treuhaft and Jessica L. Treuhaft
Trust

Robert Lacey

Robin Vaughan

Ron Bon Pub, Inc.
Ronald Hayman

Scott A. Russo

Sean Serrao

Shirley Ann Smithers
Simone Ano Conigliaro
Southern Connecticut Newspapers, Inc.
Spectron Site Group
Tac Catering, Inc.

Taki House, Inc.

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The Authors Guild, Inc.

The Bikini Network.com

The National Writers Union
Thomas L. Knight

Tom Dunkel

TV Guide Online, Inc.

TV Guide Online, LLC
Tweeter Home Entertainment Group
TWTR, Inc.

U.S. Bank National Association
Victor Cruz

Victoria Vogel

VW Sterling Corporation
Walter Roche, Jr.

Warren Beatty

DEBTORS’ SIGNIFICANT
LANDLORDS

1920 Colorado, Inc.

20 Church Street, LLC

220 News Building LLC

220 News LLC c/o The Witkoff Group LLC
9090 Enterprises

BBL Tribune, Inc.

BKM 3128 Redhill Associates LLC
Boca Warehousing, Inc.

Braver and Sauer Investments

Canyon Corporate Centre, Ltd.

Carson Dominguez Properties, LP
Catellus Development Corporation
Davis Partners LLC

Duke Realty Limited Partnership

Duke York Road, LLC c/o Duke Realty Corp.
Forest Lawn Cemetery Association
Galleria Operating Co., LLC

IAC Aviation LLC

Isadore Samuel Socransky & Socransky
Family Trust

J. Ahzaraba Investors LLC
JKS-CMFV, LLC

L&L Holding Company, LLC

L&L Realty LLC

L/B Via Colinas LLC

Lauderdale River, Inc.

LIT Finance L.P.

Luc and Shirley Matilla

Majestic Realty Co. and Yorba Linda Sub,
LLC

N&S Butters
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North Hills Industrial Park, Inc.
Northlake Property, LLC

Penzance 2121 Wisconsin Ave., LLC
Realty Associates Fund VIII LP
Richard and Grace Dickman

RR Crane Investment Corporation
Santa Monica HSR L.P. c/o The Beacon
Companies

Symbiont, L.P.

The Cracchiolo Group, LP

The J. David Gladstone Institutes
The Richlar Partnership

Trio Associates

Viola Industries

Vornado 330 West 34th Street LLC
Wells Fargo Bank, N.A.

Woodies Holding, LLC

Zellwin Farms Company

JUDGES OF THE UNITED STATES
BANKRUPTCY COURT FOR THE

DISTRICT OF DELAWARE

Kevin J. Carey

Judith K. Fitzgerald
Kevin Gross

Brendan L. Shannon
Peter J. Walsh

Mary F, Walrath
Christopher S. Sontchi

OFFICE OF THE UNITED STATES
TRUSTEE

David Buchbinder
Jane Leamy

Joseph McMahon
Mark Kenney

Richard Schepacarter
Roberta A. DeAngelis
William K. Harrington

ESOP TRUSTEE
GreatBanc Trust Company

ENTITIES INVOLVED IN
LEVERAGED ESOP TRANSACTION

EGI-TRB, L.L.C.

Sam Investment Trust

Tribune Employee Stock Ownership Plan
TESOP CORPORATION

GOLDMAN SACHS & CO.

SIGNIFICANT FORMER
SHAREHOLDERS

CANTIGN Y FOUNDATION
CHANDLER TRUST NO. I

CHANDLER TRUST NO. 2

Robert R. McCormick Tribune Foundation
TMCT, LLC

TMCT II, LLC

MAJOR HOLDERS OF PHONES

Camden Partners

Citadel Investment Group LLC
Sandelman Partners LP

SuttonBrook Capital Management LP

COUNTERPARTIES TO RECENT
SIGNIFICANT ASSET DISPOSITIONS

FREEDOM COMMUNICATIONS, INC.
GANNETT CO., INC.

HEARST CORPORATION

SUNBEAM TELEVISION CORPORATION
TARGET MEDIA PARTNERS

JOINT VENTURE PARTNERS

GANNETT Co., INC.

THE MCCLATCHY Co., INC.
MEDIANEWS GROUP, INC.
MICROSOFT CORPORATION

OTHER

EQUITY GROUP INVESTMENTS LLC

EQUITY METHOD INVESTMENTS

CAREERBUILDER, LLC

CALIFORNIA INDEPENDENT POSTAL
SYSTEMS

CLASSIFIED VENTURES, LLC
COMCAST SPORTSNET CHICAGO
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CONSUMER NETWORKS
LEGACY.COM

METROMIX, LLC

SHOPLOCAL, LLC

TOPIX, LLC

TELEVISION FOOD NETWORK, G.P.

COUNTERPARTIES TO FORMATION
AGREEMENT

Chicago Cubs Dominican Baseball Operations, LLC
Tribune CNLCB, LLC (f/k/a Chicago National
League Ball Club, LLC)

Diana-Quentin, LLC

RAC Education Trust OSA, LLC

Ricketts Acquisition LLC

Tribune Company

Tribune Sports Network Holdings, LLC

Wrigley Field Premium Ticket Services, LLC

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SCHEDULE 2

AIG Global Investment Corp

Davidson Kempner Capital Management
Ernst & Young

Freedom Communications

GoldenTree Asset Management LP
Halcyon Structured Asset Management LP
ICM - International Creative Management
Major League Baseball

MediaNews Group

NBC Universal

Oaktree Capital Management LP
Paramount Pictures Corporation/Paramount Vantage
Primus Asset Management Inc.

Sony Entertainment

Sony Pictures Television

Toyota Dealers of Southern California

5469321

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